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                                       10 Attorneys for Movants
                                       11                              UNITED STATES DISTRICT COURT
Two North Central Avenue, Suite 2100
 Bryan Cave Leighton Paisner LLP




                                       12                                   DISTRICT OF NEVADA
      Phoenix, AZ 85004-4406




                                       13    Federal Trade Commission,                         Case No. 2:12-cv-00536-GMN-VCF
           (602) 364-7000




                                       14                 Plaintiff,                        STIPULATION FOR EXTENSION
                                                                                            OF TIME FOR MOVANTS TO
                                       15           v.                                      REPLY TO FEINGOLD MOVANTS’
                                                                                            OPPOSITION TO MOTION BY KIM
                                       16    AMG Services, Inc., et al.,                    TUCKER AND RELATED
                                                                                            ENTITIES TO ASSERT INTEREST
                                       17                 Defendants.                       IN JUDGMENTS AND ONGOING
                                                                                            LITIGATION MATTERS
                                       18
                                       19          IT IS HEREBY STIPULATED between Movants Kim Tucker and the Related Entities

                                       20 as those terms are defined in their Motion to Assert Interest in Judgments and Ongoing
                                       21 Litigation Matters (Doc. #1345) (“Tucker Movants”), and the Feingold Movants, as that term
                                       22 is defined in their Opposition thereto (Doc. #1349) (the “Opposition”), that the Tucker
                                       23 Movants shall have until Monday, November 1, 2021 to file any reply they may have to the
                                       24 Opposition. This stipulation is made without the purpose of delay, but, instead, to permit the
                                       25 parties additional time to discuss the grounds for the Opposition and determine whether any
                                       26 reply will be necessary.
                                       27 ///
                                       28 ///

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                                       1     Dated this 25th day of October, 2021          Dated this 25th day of October, 2021
                                       2     BRYAN CAVE LEIGHTON PAISNER LLP               GM LAW PC
                                       3
                                       4     By /s/ Sean K. McElenney                      By /s/ Carrie Phillips (w/permission)
                                             Sean K. McElenney                             CARRIE PHILLIPS (Pro Hac Vice)
                                       5     Two North Central Avenue, Suite 2100          1201 Walnut, Suite 2000
                                       6     Phoenix, Arizona 85004-4406                   Kansas City, MO 64106

                                       7     Attorneys for Movants                         Attorneys for Feingold Movants
                                       8
                                       9 IT IS SO ORDERED.
                                       10                                   IT IS SO ORDERED.
                                       11
                                                                            Dated this ____
                                                                                        25 day of October, 2021.
Two North Central Avenue, Suite 2100
 Bryan Cave Leighton Paisner LLP




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    Phoenix, Arizona 85004-4406




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           (602) 364-7000




                                       14                                   ___________________________
                                       15                                   Gloria M. Navarro, District Judge
                                                                            UNITED STATES DISTRICT COURT
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